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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                       JACKSONVILLE DIVISION

RUHI REIMER, individually and
on behalf of all others similarly situated,

              Plaintiff,

v.                                            Case No. 3:22-cv-00793-MMH-JBT

TAX DEFENSE NETWORK, LLC,
d/b/a MONEYSOLVER

              Defendant.

                      CERTIFICATE OF COMPLIANCE
                     WITH TCPA SCHEDULING ORDER

      Defendant Tax Defense Network, LLC d/b/a MoneySolver hereby certifies

its compliance with Paragraph 2.B of the Court’s TCPA Scheduling Order requiring

the initial disclosure of documents. Defendant served a copy of responsive

documents by electronic transmission to counsel for Plaintiff on October 7, 2022.

      Dated: October 12, 2022.

                                   KABAT CHAPMAN & OZMER LLP

                                   /s/ Joshua Joel
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                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that today, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system, which will send a notice of electronic

filing to all counsel of record.

                                   /s/ Joshua Joel
                                   Counsel for Defendant




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